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EXHIBIT E
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FOGARTY & HARA

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December 14, 2023

JANET L. FIKE
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VERONICA A. ACEVEDO VIA EMAIL

Rebecca Petersen, Esq.
Murray-Nolan Berutti LLC
136 Central Avenue

2nd Floor

Clark, New Jersey 07066

Re: In the Matter of the Delaware Valley Regional High School Board of

Education and
Our File No.: 18/334

Dear Ms. Petersen:

This office represents the Delaware Valley Regional High School Board of
Education, which operates the Delaware Valley Regional High School District. Mr.
Berutti’s letter of December 8, 2023, to Superintendent Scott McKinney was forwarded
to our attention for a response. Please be advised that the District has and will continue
to act in accordance with applicable federal and state laws, and the New Jersey
Department of Education’s guidance on transgender students.

Please also accept this correspondence in response to your letter of December 8,
2023, which purports to summarize our December 8, 2023 meeting. Your letter does
not accurately reflect the discussion and makes inferences that are not based on the
information shared. First, the District is not facilitating a name or pronoun change.
Rather, the District is following federal and state anti-discrimination law, as well as the
Department of Education’s guidance regarding accepting a student’s asserted gender

identity.

Second, the counselor was not aware of diagnoses of Autism Spectrum
Disorder or Attention Deficit Hyperactivity Disorder, or that she is seeing a therapist.

aise, ea who also attended the meeting, confirmed at the
meeting that this information was not previously shared with the District. The counselor
was aware of the passing of sig mother.

Third, the District did not state that they will not refer to Sim by her given name
and pronouns. Rather, I clarified that the District will follow applicable federal and state

laws and the Department of Education guidance. Should aij request to be called by

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Rebecca Petersen, Esq.
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a name or pronoun other than that which she was assigned at birth, the District will
honor that request.

Finally, SP was not threatened. @igggp has not attended school for more
than 10 days. We advised that she will be considered truant and the District may have
to take further action, as it is required by law to do, N.J.A.C. 6A:16-7.6, if she continues
to be absent. We also advised that, if a letter requesting medical home instruction was
submitted, it would be reviewed by the school. No such request has been submitted;
however, you indicated in a phone message today that you will be providing medical
documentation regarding @jj§#® absences. The District will review that information
once it is received.

The District also notes that Wiggs conduct at the meeting was threatening.
Moreover, when I cautioned her that her language appeared threatening, she made a
point of specifically stating that she was making a threat. You attempted to clarify that
it was a threat of legal action; however, her intention was clear from her unequivocal
language. Please advise your client that threats and intimidation of any kind against the
school and its staff will not be tolerated.

In closing, the District again wants to reiterate that its staff remains ready for
Sm to return to school and it hopes that no further action is necessary to ensure that
she receives an education in compliance with the compulsory education laws. Therefore,
please confirm when @ggg@§will be returning to school, if the parents will be submitting
a request for home instruction, or if they will be withdrawing her from the District and
providing for her education in compliance with the compulsory education laws. If she
continues to be absent without medical documentation, the District will have no choice
but to take further action to address her lack of attendance.

If you have any questions, of course, do not hesitate to contact me.
With kind regards, I am
Very truly yours,

FOGARTY & HARA

BY: LL Stacey Therese Cherry,
Stacey Therese Cherry

STC:aec
cc: Scott McKinney — via email only
Superintendent of Schools

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